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                          UNITED STATES BANKRUPTCY COURT

                                  DISTRICT OF COLORADO
In Re:                                    )
                                          )
DERRICK J. MARTIN, JR.                    )    Case No. 18-14487-KHT
SSN: XX-XXX-1032                          )
                                          )    Chapter 7
Debtor.                                   )

     TRUSTEE’S UNOPPOSED MOTION TO EXTEND DEADLINE TO FILE
              COMPLAINT OBJECTING TO DISCHARGE OF THE DEBTOR

         David V. Wadsworth, chapter 7 trustee, by and through his undersigned counsel, for his
Unopposed Motion To Extend Deadline To File Complaint Objecting To Discharge Of The
Debtor, states as follows:
         1.      Counsel for the Debtor has provided undersigned counsel with authority to
represent to the Court that the Debtor does not oppose the relief requested herein, and stipulates
to same.
         2.      Derrick J. Martin, Jr. (“Debtor”) filed a voluntary petition under chapter 7 on
May 23, 2018 (“Petition Date”).
         3.      David V. Wadsworth is the duly qualified and acting trustee (“Trustee”) of the
debtor’s chapter 7 bankruptcy estate (“Estate”).
         4.      The Debtor’s initial 11 U.S.C. § 341 Meeting of Creditors occurred on June 27,
2018, and was continued to and concluded on July 9, 2018.
         4.      The present deadline for parties in interest to file a Complaint objecting to the
Debtor’s discharge pursuant to 11 U.S.C. § 727 is August 27, 2018 (“Discharge Complaint
Deadline”).
         5.      The Debtor, a former NFL football player who earned millions of dollars over the
course of his professional football career, has formed and operated several Colorado limited
liability companies since 2013. He has also engaged in the transfer of several assets either held
in his name or in the referenced limited liability companies prior to the Petition Date. Many of
those limited liability companies commence with the words and moniker “Two Rings”,
signifying the Debtor’s two Super Bowl rings the Debtor earned while playing in the NFL.



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       6.     On August 1, 2018, the Trustee filed his Motion for Turnover, seeking numerous
financial records and physical property in the Debtor’s possession which are critical to the
Trustee’s administration of the estate. The Trustee has also sought similar information from a
number of third-parties, via Fed.R.Bankr.P. 2004.
       7.     The Trustee requires additional time to obtain, review and evaluate the financial
records which he expects the Debtor to produce, and to review those documents which are
expected to be produced by third-parties pursuant to subpoena. The Trustee believes that a sixty
(60) day extension of time should be sufficient to allow him to complete his review of the
Debtor’s affairs and determine if any claims pursuant to 11 U.S.C. § 727 exist. However,
depending on the timing and scope of production, the Trustee may seek an additional extension
of time to object to discharge. If that occurs, the Trustee will file a subsequent motion. The
Debtor reserves all rights to object to any subsequent motion seeking a further extension of the
Discharge Complaint Deadline.
       8.      Predicated on these facts, the Debtor and the Trustee hereby stipulate and agree
that the Discharge Complaint Deadline for the Trustee and the Office of the United States
Trustee, shall be extended through and including October 26, 2018. The Trustee requests the
Court enter an Order approving of this Unopposed Motion.
       WHEREFORE, the chapter 7 trustee respectfully request this Court enter an order, a
proposed form of which is attached hereto, granting the relief requested herein, extending for the
Trustee and the Office of the United States Trustee the Discharge Complaint Deadline from
August 27, 2018 to October 26, 2018, and granting such further and additional relief as the Court
deems just and proper.

       Dated: August 21, 2018                SPENCER FANE LLP

                                             By:    /s/ David M. Miller_____
                                                    David M. Miller, #17915
                                                    1700 Lincoln Street, Suite 2000
                                                    Denver, CO 80203
                                                    Ph. (303) 839-3800
                                                    Fax (303) 839-3838
                                                    e-mail: dmiller@spencerfane.com

                                             ATTORNEYS FOR DAVID V. WADSWORTH,
                                             TRUSTEE

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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on August 21, 2018, I served by prepaid first class mail a
copy of the TRUSTEE’S UNOPPOSED MOTION TO EXTEND DEADLINE TO FILE
COMPLAINT OBJECTING TO DISCHARGE OF THE DEBTOR and proposed order on
all parties against whom relief is sought and those otherwise entitled to service pursuant to the
FED. R. BANKR. P. and these L.B.R. at the following addresses:

US Trustee
Byron G. Rogers Federal Bldg.
1961 Stout St., Ste. 12-200
Denver, CO 80294-1961

Derrick J. Martin, Jr.
23593 E. Chenengo Place
Aurora, CO 80016-5955

Lawrence R. Hill, Esq.
12835 E. Arapahoe Road
Tower I, Suite 200
Centennial, CO 80112

Dustin J. Klein
1827 Federal Blvd.
Denver, CO 80204


                                            s/ Nancy L. Schacht
                                            Nancy L. Schacht




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